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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

Crim. No. 13-10200-GAO

DZHOKHAR TSARNAEV

STIPULATED PROTECTIVE ORDER

1. Pursuant to Federal Rule of Criminal Procedure 16(d),
the parties hereby stipulate that good cause exists for
the following protective order.

Zs All of the materials provided by the United States in
preparation for, or in connection with, any stage of
the proceedings in this case, including materials made
available only for inspection (collectively, "the
materials"), are subject to this protective order and
may be used by defendant and defendant's counsel
(defined as counsel of record in this case) solely in
connection with the defense of this case, without prior
notice to the government and further order of this
Court.

3s Defendant and defendant's counsel shall not disclose

the materials or their contents directly or indirectly
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to any person or entity other than persons engaged to
assist in the defense (defined as person assisting the
defense who are included within the attorney-client or
work product privilege, regardless of whether they
receive any remuneration), persons who are interviewed
as potential witnesses, counsel for potential
witnesses, and other persons to whom the Court may
authorize disclosure (collectively, “authorized
persons”). Potential witnesses and their counsel may
be shown copies of the materials as necessary to
prepare the defense, but may not retain copies without
prior notice to the government and permission of the
Court.

Certain additional materials disclosed or to be
disclosed by the government may contain particularly
sensitive information, including medical information,
mental health information, financial information, and
non-classified information relating to public safety or
national security (collectively, “sensitive
materials”). These sensitive materials shall be

plainly marked as sensitive by the government. They

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and their contents may be disclosed only to the
defendant, counsel for the defendant, persons engaged
to assist the defense, and any person to whom the
sensitive tortermar ition pertains, except with prior
notice to the government and authorization from the
Court. Absent prior permission from the Court,
information marked as sensitive shall not be included
in any public filing with the Court, and instead shall
be submitted under seal.

Copies and reproductions of the materials shall be
treated in the same manner as the original materials.
Defendant, defendant’s counsel, and authorized persons
shall not disclose any notes or records of any kind
that they make in relation to the contents of the
materials, other than to authorized persons, and all
such notes or records are to be treated in the same
manner as the original materials.

Before providing materials to an authorized person,
defense counsel must provide the authorized person with
a copy of this Order. In addition, defense counsel

shall maintain a list of all persons to whom materials
10.

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are disclosed.

Upon conclusion of all stages of this case, all of the
materials and all copies made thereof shall be
destroyed or returned to the United States, unless
otherwise ordered by the Court. The Court may require
a certification as to the disposition of any such
materials.

To the extent any material is produced by the United
States to defendant or defendant’s counsel by mistake,
the United States shall have the right to request the
return of the material and shall do so in writing.
Within five days of the receipt of such a request,
defendant and/or defendant’s counsel shall return all
such material if in hard copy, and in the case of
electronic materials, shall certify in writing that all
copies of the specified siete Bid have been deleted from
any location in which the material was stored.

The restrictions set forth in this Order do not apply
to documents that are or become part of the public
court record, including documents that have been

received in evidence at other trials, nor do the

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restrictions in this Order limit defense counsel in the
use of discovery materials in judicial proceedings in
this case, except that sensitive materials shall be

filed under seal absent prior permission from this

Court. |

Nothing contained in this Order shall preclude any

party from applying to this Court for further relief or

for modification of any provision hereof.

SO STIPULATED:

CARMEN M. ORTIZ

United Statds Attorney
Pee

; Date: F / 6113

By:

wWitlfam D. Weinreb
Aloke S. Chakravart
Nadine Pellegrini
Assistant, U.S. Attorneys

/ An Ce (7a) Date: Kass -[>
Miriam Conrad, Esq.
Timothy Watkins, Esq.
William Fick, Esq.
Judy Clarke, Esq.
Counsel for Defendant Dzhokhar Tsarnaev

IT IS SO ORDERED.

Date:

MARIANNE B. BOWLER
UNITED STATES MAGISTRATE JUDGE
